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Plaintiff

S-82CVO594-E
Mobrodist Health Suskens Dallas)

Defendant \

Vv.

 

COMPLAINT

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oF Cardilogs at Metradist Hastilal oF Dallas of a Recent incident
OF workplace violence In my immediate Loong, Space. E sent m,
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Perceived discrimination ard vB Pla vialence and includad

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I. (@) PLAINTIFFS
Loe L2e. HovM mer

(b) County of Residence of First Listed Plaintiff

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onference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS Fi ORM.)

   

CVO594-E

red by law, except as

DEFENDANTS

Metrodist Healt,

County of Residence of First Listed Defendant

   
 
 

   
     

 

 

(EXCEPT IN U.S. PLAINTIFF CASES) IN U.
NOTE: INLAND CONIJEMN. ON OF
THE TRACT OHLA.
(c) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (If Known) 7
" TT TOORT .
Il. BASIS OF JURISDICTION (Place an “x” in One Box Only) I. CITIZENSHIP OF PRINCTR, GF TERE Oe Bax for Plainiff
(For Diversity Cases Only) y Defendant)
yy U.S. Government (J3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Goverment Not a Party) Citizen of This State me [] 1 Incorporated ar Principal Place Ole
of Business In This State
[[]2 U.S. Government [14 Diversity Citizen of Another State C2 [7] 2 Incomporated and Principal Place [[] 5 Os
Defendant (Indicate Citizenship of Parties in Item iD of Business In Another State
Citizen or Subject of a (43 [J 3 Foreign Nation Cle D6
Foreign Country

 

 

 

 

 

 
  
   

IV. NATURE OF SUIT piace an “x” in One Box Onl

    

 
   
  
      

 

110 Insurance PERSONAL INJURY PERSONAL INJURY
120 Marine 310 Airptane [-) 365 Personal Injury -
130 Miller Act 315 Airplane Product Product Liability
140 Negotiable Instrument Liability CO 367 Health Care/
150 Recovery of Overpayment [7] 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment! Slander Personal Injury
151 Medicare Act 330 Federal Employers’ Product Liability
152 Recovery of Defaulted Liability CO 368 Asbestos Personal
Student Loans 340 Marine Injury Product
(Excludes Veterans) 345 Marine Product Liability
CQ 153 Recovery of Overpayment Liability PERSONAL PROPERTY [ie

of Veteran’s Benefits

350 Motor Vehicle
([] 160 Stockholders’ Suits

355 Motor Vehicle

370 Other Fraud
371 Truth in Lending

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190 Other Contract Product Liability 380 Other Personal
195 Contract Product Liability [7] 360 Other Personal Property Damage
196 Franchise Injury (J 385 Property Damage
362 Personal Injury - Product Liability
Medical Malpractice

       
 
   
     
   
 
 

   
   
   
     
   
  
  
 

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|_|210Land Condemnation
|_| 220 Foreclosure
|_| 230 Rent Lease & Ejectment

      
      
  
   
   
    
 
  

Habeas Corpus: _
|_| 463 Alien Detainee
| _] 510 Motions to Vacate

440 Other Civil Rights
441 Voting
442 Employment

 

 

Act |_| 485 Telephone Consumer
| 720 Labor/Management Protection Act
Relations 861 HIA (1395¢f) |_| 490 Cable/Sat TV
740 Railway Labor Act 862 Black Lung (923) |_| 850 Securities/Commodities/
Hist Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Leave Act 864 SSID Title XVI |__| 890 Other Statutory Actions
Ba _| 790 Other Labor Litigation 865 RSI (405(g)) |_| 891 Agricultural Acts

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|_]625 Drug Related Seizure

  
    
   
     

   

          
  
 
  
  

    
  
 

 
 
  
 
   
 
       

  

     

422 Appeal 28 USC 158 |_| 375 False Claims Act
of Property 21 USC 881 423 Withdrawal |_| 376 Qui Tam (31 USC
1690 Other 28 USC 157 3729(a))
|_| 400 State Reapportionment
a S| 410 Antitrust
820 Copyrights |_| 430 Banks and Banking
830 Patent |_| 450 Commerce
835 Patent - Abbreviated [| 460 Deportation
New Drug Application ["]} 470 Racketeer Influenced and
840 Trademark Corrupt Organizations

880 Defend Trade Secrets
Act of 2016

|_} 480 Consumer Credit -
(15 USC 1681 or 1692)

  
  
   
  

        
   

   
   
      
  
  

| _}791 Employee Retirement
Income Security Act

|_| 893 Environmental Matters
|_| 895 Freedom of Information
Act

     
 
 
   
  
 

870 Taxes (U.S. Plaintiff

  
 
  
  
 
  

    

   
   

 
   

 

 

 

|_| 240 Torts to Land 443 Housing/ Sentence or Defendant) |_| 896 Arbitration
| 245 Tort Product Liability Accommodations |_| 530 General 871 IRS—Third Party |__| 899 Administrative Procedure
|_| 290 All Other Real Property 445 Amer. w/Disabilities -[ | 535 Death Penalty SASS COOP LEeEPe TT eo ee 26 USC 7609 Act/Review or Appeal of
Employment Other: |__| 462 Naturalization Application Agency Decision
T] 446 Amer. w/Disabilities -[" | 540 Mandamus & Other 465 Other Immigration |_| 950 Constitutionality of
Other |_| 550 Civil Rights Actions State Statutes
| 448 Education |_| 555 Prison Condition
|_| 560 Civil Detainee -
Conditions of
Confinement
Vv. ORIGIN (Place an “X" in One Box Only) ‘
1 Original 2 Removed from oO 3 Remanded from oO 4 Reinstated or Oo 5 Transferred from Oo 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

 

 

VII. REQUESTED IN =] CHECK IF THISIS A CLASS ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversion) 7) ey
Scum caban Relaliah an
Brief description of cause: . “4,
Fi ced a5,2a !

 

DEMAND § CHECK YES only if demanded in complaint:

 

 

 

 

 

 

 

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COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Clyes [No

VIII. RELATED CASK(S)
IF ANY (Ser instructions): GE DOCKET NUMBER
‘DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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